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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    Desolation Holdings LLC, et al., 1                    Case No. 23-10597 (BLS)

             Wind Down Entity.                            (Jointly Administered)




     DECLARATION OF DAVID MARIA IN SUPPORT OF PLAN ADMINISTRATOR’S
       OBJECTION TO CLAIM C598-10438 FILED BY ANTHONY CRAIG HARDEE
          PURSUANT TO SECTION 502 OF THE BANKRUPTCY CODE AND
                         BANKRUPTCY RULE 3007


             I, David Maria, Plan Administrator of the above-captioned debtors and their debtor

affiliates (collectively, the “Debtors” or the “Wind Down Entity”), pursuant to 28 U.S.C. § 1746,

hereby declare under penalty of perjury that the following is true and correct to the best of my

knowledge, information, and belief:

             1.    I am the Plan Administrator of the Wind Down Entity as of the Effective Date. I

have served as the General Counsel and Chief Legal Officer for Bittrex, Inc. (“BUS”) since

December 2022 and previously as BUS’s Head of Litigation and Regulatory Affairs since May

2021.

             2.    In my capacity as the Plan Administrator, I am generally familiar with the Debtors’

day-to-day operations, business, financial affairs, and ongoing restructuring efforts. Accordingly,

I am in all respect competent to make this declaration (the “Declaration”).

             3.    I submit this Declaration in support of the Plan Administrator’s Objection to Claim

C598-10438 Filed by Anthony Craig Hardee Pursuant to Section 502 of the Bankruptcy Code and


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and Bittrex
Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle, WA 98104.
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Bankruptcy Rule 3007 (the “Objection”), 2 dated as of the date hereof and filed contemporaneously

herewith.

        4.       I am over the age of eighteen and, as the Plan Administrator, I am authorized to

submit this Declaration. All statements in this Declaration are based upon my personal knowledge,

or my review (or the review of others under my supervision) of (a) business books and records

kept by the Debtors in the ordinary course of business, (b) the relevant proof of claim, (c) the

Schedules, and/or (d) the official register of claims filed in these chapter 11 cases. If called as a

witness, I could and would competently testify to the facts set forth in this Declaration.

        5.       The Claim was carefully reviewed and analyzed in good faith using due diligence

by myself, appropriate personnel of the Wind Down Entity, Berkeley Research Group, LLC, Quinn

Emanuel Urquhart & Sullivan LLP, and/or Young Conaway Stargatt & Taylor, LLP.

        6.       A true and correct copy of BUS’ current terms of service is attached hereto as

Exhibit A.

        7.       Mr. Hardee created an account with Bittrex, Inc. (“BUS”) on September 12, 2017,

but did not accept the terms of service at that time. Mr. Hardee accepted BUS’ terms of service on

July 26, 2023, but did not upload required identification.

        8.       As of the Petition Date, Mr. Hardee’s account held the following cryptocurrencies:

0.12775401 BTC, with a total value as of the petition date of $3,549.13.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

Dated: December 29, 2023

                                                                                /s/ David Maria
                                                                                David Maria

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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.

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                        Exhibit A

             Terms of Service of Bittrex, Inc.
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